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                       JSX Air and JetSuiteX, Inc.
               14
               15                         UNITED STATES DISTRICT COURT
               16           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
               17      DELUX PUBLIC CHARTER, LLC D/B/A Case No. 8:20-CV-2344-JLS (KESx)
                       JSX AIR AND JETSUITEX, INC.,
               18                                          Plaintiffs, COOLEY LLP’S REPLY TO DELUX
                       v.                                              PUBLIC CHARTER, LLC D/B/A JSX
               19                                                      AIR AND JETSUITEX, INC.’S
                       COUNTY OF ORANGE, CALIFORNIA, a OPPOSITION TO COOLEY LLP’S EX
               20      charter county; BARRY RONDINELLA in PARTE APPLICATION SEEKING TO
                       his official capacity as Airport Director of WITHDRAW AS COUNSEL
               21      John Wayne Airport,
               22                                      Defendants.
                                                                     Judge Josephine L. Staton
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COOLEY LLP
ATTORNEYS AT LAW                                                            REPLY TO OPPOSITION TO COOLEY LLP’S
   SAN DIEGO                                                                    EX PARTE APPLICATION SEEKING TO
                                                                                          WITHDRAW AS COUNSEL
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                   1         Cooley LLP’s (“Cooley”) application for leave to withdraw as counsel for
                   2   Delux Public Charter, LLC d/b/a JSX Air and JetSuiteX, Inc. (“Plaintiffs” or “JSX”)
                   3   must be heard on an expedited basis. It is untenable for Cooley to remain as
                   4   Plaintiffs’ counsel for the next six months until there is a date available on the Court’s
                   5   regularly noticed hearing calendar.        Plaintiffs have been and continue to be
                   6   represented by two other law firms in connection with this litigation, and are now
                   7   represented by a third law firm in connection with Cooley’s application. If Plaintiffs
                   8   believe that three law firms are not enough to adequately represent their interests,
                   9   they are free to retain yet another law firm. In any case, Cooley is prepared to ensure
               10      as seamless of a transition to Plaintiffs’ other counsel as possible.
               11            Furthermore, there is no need to conduct full briefing of the City’s unfounded
               12      conflict allegations against Cooley to rule on Cooley’s application for leave to
               13      withdraw. Since the City alleged a conflict, other events have occurred—separate
               14      from the City’s conduct—that have made it unreasonably difficult for Cooley to
               15      continue to represent Plaintiffs effectively, and necessitate and entitle Cooley to
               16      withdraw. The City’s allegations inform, but are distinct from, the basis upon which
               17      Cooley seeks to withdraw. (O’Connor Decl. ¶¶ 5, 10.)         Cooley cannot continue to
               18      effectively serve as counsel for Plaintiffs, regardless of the merits of the City’s
               19      allegations. (O’Connor Decl. ¶¶ 10, 16.); see CAL. RULES OF PROF’L CONDUCT r. 1.16
               20      (b)(4), (b)(9), (b)(10) (STATE BAR OF CAL. 2020).
               21            Cooley would not seek to withdraw as counsel for a client in an ongoing
               22      litigation unless there were extraordinary circumstances and the litigation was at a
               23      point at which withdrawal would not prejudice the client. That is precisely the case
               24      here. (O’Connor Decl. ¶¶ 10, 16.) However, because of Cooley’s ethical obligations
               25      to Plaintiffs, Cooley cannot provide the Court with detailed information regarding all
               26      of the reasons Cooley must be permitted to withdraw. Id. Nevertheless, the fact that
               27      Cooley is seeking to withdraw on an expedited basis should be informative to the
               28      Court. In addition, in such circumstances as these, where Cooley’s hands are tied by
COOLEY LLP
                                                                               REPLY TO OPPOSITION TO COOLEY LLP’S
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ATTORNEYS AT LAW
   SAN DIEGO                                                                       EX PARTE APPLICATION SEEKING TO
                                                                                             WITHDRAW AS COUNSEL
          Case 8:20-cv-02344-JVS-KES Document 78 Filed 09/09/21 Page 3 of 3 Page ID #:2234



                   1   its duties to Plaintiffs, the authority is clear: The Court is not only permitted to, but
                   2   should grant Cooley’s application to withdraw. See MODEL RULES                OF   PROF’L
                   3   CONDUCT r. 1.16 cmt. 3 (AM. BAR ASS’N 1983) (“The court may request an
                   4   explanation for the withdrawal, while the lawyer may be bound to keep confidential
                   5   the facts that would constitute such an explanation. The lawyer’s statement that
                   6   professional considerations require termination of the representation ordinarily
                   7   should be accepted as sufficient.”); see also Aceves v. Superior Ct., (1996) 51 Cal.
                   8   App. 4th 584 at 592.
                   9               For the reasons stated above, this Court should grant Cooley’s ex parte
               10      application for leave to withdraw as counsel for Plaintiffs on an expedited basis.
               11      Dated: September 9, 2021           Respectfully submitted,
               12                                         By: /s/ William V. O’Connor
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COOLEY LLP
                                                                              REPLY TO OPPOSITION TO COOLEY LLP’S
                                                                   3
ATTORNEYS AT LAW
   SAN DIEGO                                                                      EX PARTE APPLICATION SEEKING TO
                                                                                            WITHDRAW AS COUNSEL
